
Non-Argument Calendar
PER CURIAM.
Toys “R” Us, Inc., Moose Mountain Toy-makers, Ltd., and Moose Mountain Marketing, Inc. (“Moose Mountain”) appeal the order of the district court affirming the judgment of the bankruptcy court in three related appeals (that we have consolidated) on the ground that the bankruptcy court erred in dismissing their counterclaim and cross-claim for lack of standing to challenge the terms of the Asset Purchase Agreement. Because we agree with the district court that Moose Mountain lacked standing to challenge the terms of the Asset Purchase Agreement in the adversary proceeding before the bankruptcy court, see In Re Westwood Cmty. Two Ass’n, 293 F.3d 1332, 1334-35 (11th Cir.2002), the order affirming the judgment of the bankruptcy court is,
AFFIRMED.
